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                                                            U.S. DEPARTMENT OF JUSTICE

                                                                               Matthew T. Kirsch
                                                                      Acting United States Attorney
                                                                              District of Colorado


                                                        1801 California Street, Suite 1600 (303) 454-0100
                                                        Denver, Colorado 80202          FAX (303) 454-0403

 July 7, 2021

 Via electronic mail

 Tor Ekeland, Esq.
 Michael Hassard, Esq.
 Counsel for Michael Tew and Kimberley Tew
 30 Wall Street
 8th Floor
 New York, New York 10005
 tor@torekeland.com
 michael@torekeland.com

 Re:    United States v. Michael Aaron Tew, et al., Case No 20cr305-DDD
        Notification of Further Filtering of iCloud Search Warrant Return for
        kley@me.com

 Dear Mr. Ekeland,

 As you know, a search warrant was executed on Kimberley Tew’s iCloud account associated with
 kley@me.com. The full return, in its unfiltered capacity, was provided to you on or around April
 6, 2021.

 In the context of negotiating the protective order, we had a telephone conference with you and
 your team on March 29, 2021 where we discussed, among other issues, the review of Ms. Tew’s
 iCloud account. Specifically, we noted that we did not have a basis to believe that there was a
 reasonable possibility that the materials in the iCloud search warrant return implicated an attorney-
 client privilege held by Ms. Tew, but in an abundance of caution, we had asked that the materials
 on the search warrant return be filtered outside the prosecution team so that items that were either
 (1) not dated or (2) dated the day of Mr. Tew’s arrest, July 8, 2020, or afterward were removed
 from the materials accessible by the prosecution team. We further asked you whether there were
 any other attorney-client relationships that we should be aware of, and you did not note any other
 such relationships during the call or after receipt of the iCloud return.

 During the March 29th call, we also described how there were encrypted and unencrypted
 components to the iCloud search warrant return, both of which were subject to the date filtering
 and exclusion described above, but were processed separately (i.e., the encrypted portion being
 processed at the computer crimes lab in Washington D.C., and the unencrypted portion processed
 by the FBI in Colorado). We detailed how the prosecution team gained access to the unencrypted,
 filtered iCloud return in mid-December 2020 to start a priority analysis prior to seeking indictment,
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 but had not accessed the unencrypted iCloud search warrant return from the time of indictment to
 the time of our call, March 29, 2021. We also noted that while the encrypted, filtered iCloud
 search warrant return materials had been shipped to us in Denver, the prosecution team had not
 reviewed it, which continues to be the case. We asked that if you had any concerns or issues with
 respect to our review of the iCloud search warrant return, to include on the issue of marital
 communications, you identify those issues within two weeks of that call, or by April 12, 2021,
 during which time we would not access the filtered iCloud search warrant returns. To date, we
 have not received any information from you about additional issues related to the iCloud search
 warrant return.

 At the end of last week, per our instructions, IRS-Criminal Investigation Special Agent Lisa
 Palmer and FBI Special Agent Sarah Anderson resumed their initial review of the unencrypted
 iCloud search warrant return. During that review, Special Agent Palmer noted on Monday, July
 5, that there were communications between Eric Creizman and Ms. Tew. Because Mr. Creizman
 was known to Special Agent Palmer as a lawyer retained by Mr. Tew, albeit after the pre-July 8,
 2020 timeframe, she immediately ceased review of those communications. She also observed a
 contact for “Lawyer 3” and did not review any communications between “Lawyer 3” and Ms. Tew.
 She then closed the search warrant return. She then identified this issue promptly to the Assistant
 United States Attorneys on this case on Tuesday, July 6, and consistent with what she had already
 done on her own on Monday, July 5, has not reopened the iCloud search warrant return to afford
 us time to contact you to advise on the filtering process we intend to employ.

 Later in the day on Tuesday, July 6, Special Agent Palmer recalled that on Monday, she had
 reviewed communications between a contact named “Lauren Tew” and Ms. Tew. In an abundance
 of caution, on Tuesday, July 6, she then looked up “Lauren Tew’s” employment via an Internet
 search and noted that “Lauren Tew” is an attorney. That same day, Special Agent Palmer conveyed
 this information to the Assistant United States Attorneys, who have not seen the underlying
 communications between “Lauren Tew” and Ms. Tew and are not aware of the substance of the
 communications.

 We have no reason to believe that Ms. Tew had an attorney-client relationship with “Lauren Tew”
 or that the communications were for the purpose of seeking legal advice. Furthermore, while we
 know that Mr. Creizman formed an attorney-client relationship with Mr. Tew at some point in late
 July 2020, we do not understand that he has ever had an attorney-client relationship with Ms. Tew,
 especially, as relevant to the filtered search warrant return available to the prosecution team, in the
 time period prior to Mr. Tew’s arrest on July 8, 2020. We are aware only that Mr. Creizman may
 have at some point represented Mr. Tew, or Mr. Tew’s prior employer or associated business, in
 another SEC matter. Finally, with respect to “Lawyer 3,” we do not know who that attorney is, or
 whether an attorney-client relationship existed, but from the contact information, we know that
 “Lawyer 3” is associated with the phone number (949) 204-7468. We have not looked up this
 number to identify the owner, but can do so to add to the proposed search terms below.

 Please advise in writing by 5 p.m. on July 15, 2021, as to whether Ms. Tew had an attorney-client
 relationship with “Lauren Tew” and/or Mr. Creizman, and if so, when that relationship was
 formed. At this time, we do not intend to seek to have the prosecution team review Ms. Tew’s
 communications with “Lauren Tew,” Eric Creizman, or “Lawyer 3,” nor do we intend to use those


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 materials. We make that decision without waiver of our right to argue that these materials are not,
 in fact, privileged.

 Search Terms and Further Filtering
 We intend to segregate and set aside materials that may pertain to “Lauren Tew,” Eric Creizman,
 and “Lawyer 3” by having the following searches run by someone who is not on the prosecution
 team. The specific communications or items that hit on these search terms will be segregated and
 removed from what is then available to the prosecution team.

 To provide context for the list of search terms below, we provide you with the following
 information:

 In the iCloud search warrant return, Eric Creizman is associated with the following contact
 information:
 ecreiz@icloud.com
 (917) 494-5881

 In our interactions with Mr. Creizman as prior counsel for Mr. Tew, we have separately identified
 the following contact information:

 Armstrong Teasdale LLP
 Eric M. Creizman | Partner
 919 Third Ave, 37th Floor, New York, NY 10022
 MAIN PHONE: 212.209.4400
 DIRECT: 212.209.4358 | FAX: 646.200.5022
 MOBILE: 917.494.5881
 ecreizman@atllp.com

 We also note that in our interactions with Mr. Creizman, he worked with a co-counsel, Melissa
 Madrigal, whose contact information is also below. In an abundance of caution, we will include
 her in the search terms.

 Armstrong Teasdale LLP
 Melissa Madrigal | Partner
 919 Third Avenue, 37th Floor, New York, NY 10022
 212.209.4456 (direct) | 786.543.1877 (cell)
 mmadrigal@atllp.com

 In the iCloud search warrant return, “Lawyer 3” is associated with this phone number:
 (949) 204-7468

 As noted above, we have not conducted an Internet search to see if we can identify the person
 associated with this number, but can do so if you would like.

 We have instructed Special Agent Palmer not to reopen the iCloud search warrant return for the
 contact information associated with “Lauren Tew.”


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 Based on the above, we have developed the following list of search terms:

 “Eric Creizman”
 ecreiz@icloud.com
 (917) 494-5881
 917.494.5881
 ecreizman@atllp.com
 212.209.4358
 (212) 209-4358
 646.200.5022
 (646) 200-5022
 “Armstrong Teasdale”
 “919 Third Ave, 37th Floor”
 “Melissa Madrigal”
 786.543.1877
 (786) 543-1877
 212.209.4456
 (212) 209-4456
 mmadrigal@atllp.com
 “Lawyer 3”
 (949) 204-7468
 949.204.7468
 “Lauren Tew”

 If you would like to supply a name, email address(es), any additional phone number(s), and/or
 firm name for “Lawyer 3,” we can add that to our search. If you would like to supply email
 address(es), firm name, and/or telephone number(s) for “Lauren Tew,” we can also add that to the
 search. If you intend to provide those additional terms, please do so in writing by or before 5 p.m.
 on July 15, 2021.

 Please let us know if you wish to discuss further. Thank you.

                                                      Best Regards,

                                                      MATTHEW T. KIRSCH
                                                      Acting United States Attorney
                                                      District of Colorado

                                                      s/ Hetal J. Doshi
                                                      Hetal J. Doshi
                                                      Assistant United States Attorney

                                                      s/ Andrea Surratt
                                                      Andrea Surratt
                                                      Assistant United States Attorney



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